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KEVIN KERVENG TUNG, P.C,

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Admitted in NY and Ni
wow kkilawfirm.com

October 13, 2016
VIA FIRST CLASS MAU,

Hon. Steven C. Mannion

United States Magistrate Judge for the District of New Jersey
Clarkson &. Fisher Building & U.S. Courthouse

402 East State Street Room 2620

‘Trenton, NJ 68668

Chambers - 973-645-3827

Re: U.S. v. Jason Li, a/k/a “Jason Liu,” “Li Lru,” and “Fen Li?
Index No. 16-6041 (SCM), United States District Court, District of New Jersey

Dear Judge Mannion:

The above referenced case is continued through December 3, 2016 according to the

Continuance Order dated Sepiember 30, 2016.

The defendant, Mr, Jason Li, has received calls from his family in China that his father,
Mr. Peisheng Liu, is under critical illness condition since October 1 , £016, which may further
deteriorate, and one or more of the life-threatening complications may occur anytime. We have
enclosed the Notice of Critical [ness from Chengdu City Traditional Chinese Medicine &
Western Medicine Hospital--Chenady City No.1 People’s Hospital, together with Mr. Li’s birth

certificate showing his relationship with Mr, Peisheng Liu for your reference,

We hereby request the Court to grant Mr. Lia period of four to six weeks to go back to
China and to take care of his father. Not only has Mr. Li been cooperating with the Government,
complying with every conditions set in the pretrial release supervision, he is also deeply rooted
in his community here in the U.S., where he supports his family for many years. Moreover, since

the current action is still ongoing, so is the plea negotiation between the Government and Mr. La

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and Mr. Li has been very cooperative, we are certain that Mr. Li will be back for his trial to
defend his innocence after the time granted or to take the plea. Mr. Li runs a low level of risk to

flee the U.S. because he is a U.S. citizen.

In addition, we have conveyed the same to the Government previously via e-mail. In the
meantime, we will keep cooperating with the Government as well as the Court and will notify

the Court timely once we come up with a resolution for the above referenced case.
Thank you in advance for your consideration,

Very truly yours,

i:

  

Kevin K. Tung

CL.

Dennis C, Carletta

Assistant U.S. Attorney
National Security Unit

United States Attorney's Office
District of New Jersey

970 Broad Street, Suite 700
Newark, NJ 07102

Page 2 of 2
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J&R Language Services, Inc.

438-40 38" Ave, Sulte 507, Flushing, NY 11384
Tei: 7{8-445-1888/F ax: 748-445-0488

     
     

[Transtation]
Chengdu City Traditional Chinese Medicine & Weatern Medicine Hospital
Chengdu City No. 1 People’s Hospital
Notice of Critical [mess
Name: Gender: @ ia Hospitalization No Registration No. @
Department: Respiratory Medicine I Bed No.@ Citizen No. Unknown

Respectful Patient’s Families, Patient’s Legal Guardian or Authorized Entrusted Agent:

Patient is still under critical ilness condition under the active treatment of medical staff, and the illness

condition may further deteriorate, one or more of the following life-threatening complications may occur
anytime:

i. Encephalopathy, severe arrhythmia, heart failure, myocardial infarction, hypertensive crisis;
2. Upper gastrointestinal bleeding leading to hemorrhagic shock, cerebral bemorrhage, cerebral

infarction, hernia;

. infection of toxic shock, anaphylactic shock, cardiogenic shock;

. Diffuse intravascular coagulation (DIC);

. Multiple organ failure;

. Diabetic ketosis, acidosis, hypoglycemic coma, hyperosmolar coma;

. Others.

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In the event of above condition happen to the patient’s life, health care workers will fully rescue the
patient, including tracheotomy, ventilator-assisted breathing, defibrillation, cardiac massage, installation of
temporary pacemaker and other measures.

According to China's law, in order to rescue the patient, the doctor can rescue patients without your
consent under the rescue measure’s requirement, and use necessary emergency equipment and treatment, and
then fulfill the obligation to inform, Please understand and actively cooperate with the hospital's rescue
treatment. If you have other questions and requirements, please seek medical advice from doctor after receiving

this notice. Please leave your accurate contact information, so that health care workers can communicate with
you at any time.

In addition, limited to the current medical, science and technology conditions, although our hospital

medical staff has done everything possible to treat patients, still possibility of unfortunate death may occur due
to the disease. Hope patient's families understand.

Signature of Consultation Physician or Authorized Medical Staff: [illegible]
Time of Signature: 10/11/2016 @23:00

Patient/Legal Guardian/ Entrusted Agent: [Hegibie}
Relationship to Patient: Daughter ae :
Time of Signature: 10/11/2016 @23:00 Ceetifivcl Pam ciation,

(fleiat Seat Page 1
Case 2:16-mj-06041-SCM Document 21-1 Filed 03/17/17 Page 4 of 11 PagelD: 73
' Case 2:16-mj-06041-SCM Document 17 Filed 10/13/16 Page 4 of 11 PagelD: 54

J&R LANGUAGE SERVICES, INC.

PROFESSIONAL LANGUAGE SERVICES
13640 39" Ave #507 Flushing, NY 11954 Phone: (7183445-1888 Eemail: jrlanguage?61 1@gmait.com

CERTIFICATE TRANSLATION FROM CHINESE TO ENGLISH, AND VICE VERSA

CERTIFICATE OF ACCURACY

STATE OF NEW YORK )
}S.8
COUNTY OF QUEENS )

On this day personally appeared before me Jiayue Gua who, after being duly sworn,
depose and says:

 

That he/she is a certified translator of the English and Chinese languages by profession
and as such is connected with JAR Language Services, frc.

That he/she is thoroughly conversant with these languages.

That he/she has carefully made the attached translation from the original document
written in the Traditional Chinese language on the official paper of the J&R Language Services,
inc. While respecting the original content faithfully, and that the translation is true and accurate
to the best of his/her knowledge, ability and belief.

This is to certify that this is a complete, true and correct translation of the Notice of
Critical Hiness,

Signature of the ran anbhtas Date: Oy ley o Qt 6

RUNYU HU .
NOTARY PUBLIC - STATE OF NEW ¥, MO? ye pony ype .
NO. OtHUG6320075 ORK CYMEE Pe YEU (Ge
QUALIFIED IN QUEENS COUNTY .° LAG
CERTIFICATE FILED IN NEW YORK COUNTY EOL Af 3.014
COMMISSION EXGinEes MARCHOS, 201 &
 
peeve eASE..2.16-Mj-06041-SCM Document 21-1 Filed 03/17/17 Page 6 of 11 PagelD: 75
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This is to certify that

name is

| XWe259133)

-mj-06041-SCM Documenti7 Filed 10/13/16 Page 8 of 11 PagelD: 58

NOTARIAL CERTIFICATE

- (Translation)

(2005) C. G.N. S. file No.3350

 

was born in« e on

 

. His father’s name is B

 

and his mother’s

 

Notary: Zhang Tianyou (Si ignature)
Guo Li Notary Public Office,

Sichuan,

The People’s Republic of China (Seal)

Noverber 18, 2005
Case 2:16-mj-06041-SCM Document 21-1 Filed 03/17/17 Page 9 of 11 PagelD: 78
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Case 2:16-mj-06041-SCM Document 21-1 Filed 03/17/17 Page 10 of 11 PagelD: 79
mj-06041-SCM Decument 17 Filed 10/13/16 Page 10 of 11 PageiD: 60

 

NOTARIAL CERTIFICATE

(Translation)

(2005) C. GN. S. file No.3351

This is to certify that the English translation attached hereto is in

conformity with the Chinese original copy of the Notarial Certificate .

(2005) C. GN. S, file No.3350.

Notary: Zhang Tianyou (Signature)
Guo Li Notary Public Office,
Sichuan,

The People’s Republic of China (Seal)

November 18, 2005
Case 2:16-mj-06041-SCM Document 21-1 Filed 03/17/17 Page 11 of 11 PagelD: 80
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iS. Department ef Homeland Security

U.S. Citizenship and Immigration Services Petition for Name Change

 

 

  

Santer Glatt of NPT

 

(NAME OF COMURT}

As part of the naturalization process, you have the opportunity te legally change your name, Please complete Hines 1 -
& (Pype or print clearty}.

Ny fall and correet name (corrent name)

 

 

 

      
 

 

     

1,
(MIDEELE) , {LAST
2. Address: a e
CNumber/Streep (City /Statel (fin Cade}
3. Country of Nationalin: China, People's 4, Date of Birth:

 

Republic Of —

Month} Gay) (Cemplete Year}

Ca

. Aller Registration Card (Green Card) Number:

 

5. Leertify that | ane net seeking ¢ change of name for any wilawfal purpoce such as the avoidance of debt or evasian
af law enforcement,

7, i petition the court te change my name to:

 

PAREN . LE
iFERISTY (MDD DLE} (LAST)
| yyy
8. Date: 7230/2010 ce ALANA

Signature of PedGoner Yeurrent na rats

 

AUG 28 2016

(Date)

 

 

 

Your copy of thie petition, along with your Certificate of Naturalization, which por will recelve upon taking the onth of slleginneu, will verify chaz
you tlected te change pour name. Your Cartifeate af Naturelization hears your new name as changed por Order of the Court, .

Fortin NX AK 1 198}
